              IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                       SOUTHERN DIVISION
                        Case No. 7:21-cv-00188

S.J., T.J, and S.L.J.,                 )
minors, by their Guardian ad Litem,    )
Lindsey Johnson; SCOTT JOHNSON;        )
and LINDSEY JOHNSON,                   )
                                       )
            Plaintiffs,                )
                                       )
      v.                               )
                                       )        CERTIFICATE OF SERVICE
LENDLEASE (US) PUBLIC                  )
PARTNERSHIPS LLC; ATLANTIC             )
MARINE                                 )
CORPS COMMUNITIES LLC; and             )
AMCC PROPERTY                          )
MANAGEMENT LLC,                        )
                                       )
                                       )
            Defendants.                )
_______________________________________)

       This is to certify that on March 13, 2023 DEFENDANTS’ FED. R. CIV. P.
26(a)(2) DISCLOSURE was served by electronic mail upon following counsel:

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Dated: March 13, 2023

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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing Proof of Service, was filed

electronically on March 13, 2023. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system.


                                        /s/ Michael Klebanov




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